Case 3:06-cr-30166-DRH     Document 385 Filed 03/11/08        Page 1 of 1   Page ID
                                     #934



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

TERREZ D. SHIELDS, et al.,

      Defendants.                                   Case No. 06-cr-30166-3-DRH


                                    ORDER

HERNDON, District Judge:


            Before the Court is a Motion to Continue Sentencing Hearing (Doc. 384)

for defendant Terrez Shields, currently set for April 4, 2008. Because Defendant’s

counsel has encountered a scheduling conflict that day, he requests the hearing be

continued. For good cause shown, said Motion (Doc. 384) is GRANTED. The new

sentencing hearing date for defendant Terrez Shields will be Monday, April 14,

2008 at 10:00 a.m.

            IT IS SO ORDERED

            Signed this 11th day of March, 2008.

                                            /s/    DavidRHerndon
                                            Chief Judge
                                            United States District Court
